






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



ABDELRAZZAK ALESKANDRANY,
INDIVIDUALLY AND d/b/a GLAMOUR
CUTS,


                            Appellant,


v.


TALSA CORPORATION II, INC., a
TEXAS CORPORATION,


                            Appellee.
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No. 08-08-00344-CV



Appeal from the


County Court at Law No. Three


of El Paso County, Texas 


(TC#2005-4025) 



MEMORANDUM OPINION


	The Court reviews this appeal on its own motion to determine whether it should be dismissed
for want of prosecution.  See Tex.R.App.P. 42.3(b).  Because it appears the Appellant no longer
wishes to pursue the appeal, we will dismiss for want of prosecution.

	A default judgment was entered against the Appellant in this case on May 28, 2008.
Appellant filed a Notice of Restricted Appeal to this Court on December 15, 2008.  The Reporters
Record was filed in this Court on January 15, 2009, starting the thirty-day time period to file the
Appellant's brief.   The Appellant's brief was due on February 16, 2009.  By letter dated February
24, 2009, the Clerk of this Court notified Appellant of our intent to dismiss the appeal for want of
prosecution due to Appellant's failure to file an Appellant's brief or motion for extension of time.
The Clerk informed Appellant that the appeal would be dismissed without further notice unless any
party could show grounds for continuing the appeal within ten days of the date of the notice.  We
have not received a response.

	This Court may dismiss an appeal for want of prosecution when an appellant has failed to
file his brief within the time prescribed, and gives no reasonable explanation for such failure.
Tex.R.App.P. 38.8(a)(1); Elizondo v. City of San Antonio, 975 S.W.2d 61, 63 (Tex.App.-San
Antonio 1998, no pet.).  We have given written notice of our intent to dismiss this appeal and have
requested a response stating a reasonable basis for the failure to file an appellant's brief.  Appellant
has not responded.  We see no purpose which would be served by declining to dismiss this appeal
at this stage in the proceedings.  Therefore, in accordance with Tex.R.App.P. 42.3(b), 42.3(c), and
38.8(a)(1), we dismiss this appeal for want of prosecution.


						GUADALUPE RIVERA, Justice


April 9, 2009


Before Chew, C.J., McClure, and Rivera, JJ.


